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For Cellhouse Transfer
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INMATE REQUEST TO STAFF MEMBER

To: Date:
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Unit Team Member Signature To be retained by Inmate

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For Cellhouse Transfer | {\ LEE

 

 

 

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